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Agent Matthew Bryant (00:03):
Yes, sir.

James Garretson (00:04):
Matt, you wouldn't believe this.

Agent Matthew Bryant (00:06):
What?

James Garretson (00:06):
I have a recording of that.

Agent Matthew Bryant (00:09):
Really?

James Garretson (00:10):
Yes, I just looked back, the date, because I turned that call app off, that recording app off but I didn't
turn it off til like the 25th. I have it recorded where he says he's going to kill Jeff Lowe.

Agent Matthew Bryant (00:24):
Really?

James Garretson (00:25):
Yes.

Agent Matthew Bryant (00:26):
Well, contact ... you should be getting a call. That's awesome.

James Garretson (00:32):
Yeah, I have it recorded, the whole conversation, eight and a half minutes of it.

Agent Matthew Bryant (00:38):
Really?

James Garretson (00:38):
Yep.

Agent Matthew Bryant (00:40):
Good deal. Good deal.

James Garretson (00:44):
Yeah, so I have it.



3.13 (Completed 09/24/21)                                                                      Page 1 of 2
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                                                                                              Exhibit 17
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Agent Matthew Bryant (00:47):
All righty. Two can play at his game.

James Garretson (00:50):
Yeah, I have it. All right, bye.

Agent Matthew Bryant (00:54):
Bye, bud.

James Garretson (00:54):
Okay.




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                                                                           Exhibit 17
